                     Case 1:18-cv-00289-JEB Document 5 Filed 03/22/18 Page 1 of 2
                                                                                                                 FOIA SummRQs
                                                                                                                 1/1



                                         UNITED STATES DISTRICT COURT
                                         FOR THE DISTRICT OF COLUMBIA


                *LOEHUWR &KDYHUUD
                                                           )
                        Plaintiff                          )
                                                           )
                v.                                         )                Civil Action No. FY-(%
86 ,PPLJUDWLRQ DQG &XVWRPV (QIRUFHPHQW HW DO           )
                                                           )
                        Defendant                          )



                                           SUMMONS IN A CIVIL ACTION

To:     (Defendant’s name and address)
                                         8QLWHG 6WDWHV $WWRUQH\ IRU WKH 'LVWULFW RI &ROXPELD
                                         &LYLO 3URFHVV &OHUN
                                          7KLUG 6WUHHW WK )ORRU
                                         :DVKLQJWRQ '& 



        A lawsuit has been filed against you.

        Within 30 days after service of this summons on you (not counting the day you received it) you must
serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal Rules of
Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney, whose name and
address are:
                       5 $QGUHZ )UHH
                       32 %R[ 
                       1DVKYLOOH 71 




      If you fail to respond, judgment by default may be entered against you for the relief demanded in the
complaint. You also must file your answer or motion with the court.



                                                                   ANGELA D. CAESAR, CLERK OF COURT



Date:    3/22/2018                                                          /s/ Nicole M. Wilkens
                                                                            Signature of Clerk or Deputy Clerk
                        Case 1:18-cv-00289-JEB Document 5 Filed 03/22/18 Page 2 of 2
)2,$6XPPRQV3DJH

&LYLO$FWLRQ1R FY-(%

                                                      3522)2)6(59,&(
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

          7KLVVXPPRQVIRU(name of individual and title, if any)
ZDVUHFHLYHGE\PHRQ(date)                                        

          u ,SHUVRQDOO\VHUYHGWKHVXPPRQVRQWKHLQGLYLGXDODW (place)
                                                                              RQ(date)                          RU

          u ,OHIWWKHVXPPRQVDWWKHLQGLYLGXDO¶VUHVLGHQFHRUXVXDOSODFHRIDERGHZLWK(name)
                                                           DSHUVRQRIVXLWDEOHDJHDQGGLVFUHWLRQZKRUHVLGHVWKHUH
          RQ(date)                           DQGPDLOHGDFRS\WRWKHLQGLYLGXDO¶VODVWNQRZQDGGUHVVRU

          u ,VHUYHGWKHVXPPRQVRQ(name of individual)                                                                  ZKRLV
          GHVLJQDWHGE\ODZWRDFFHSWVHUYLFHRISURFHVVRQEHKDOIRI(name of organization)
                                                                              RQ(date)                          RU

          u ,UHWXUQHGWKHVXPPRQVXQH[HFXWHGEHFDXVH                                                                          RU

          u 2WKHU(specify):
                                                                                                                                      


          0\IHHVDUH                       IRUWUDYHODQG                  IRUVHUYLFHVIRUDWRWDORI                    


          ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKLVLQIRUPDWLRQLVWUXH


'DWH
                                                                                     Server’s signature



                                                                                   Printed name and title




                                                                                      Server’s address

$GGLWLRQDOLQIRUPDWLRQUHJDUGLQJDWWHPSWHGVHUYLFHHWF
